
OPINION OF THE COURT
PER CURIAM.
This is an appeal from a Summary Final Judgment entered by the lower Court. A Motion for Rehearing of this Court’s original opinion filed on November 3, 1986, was granted.
The sole issue for consideration is whether the trial court erred in entering Summary Final Judgment.
The Court file reflects that the affidavit in opposition to the motion for Summary Judgment was filed on November 6, 1985, the day after *153the Court entered its Order. At the time of hearing, the Affidavit was not contained within the pleadings or file and not considered by the Court. Accordingly, the trial court was justified in granting Plaintiffs Motion. The Summary Final Judgment is affirmed,
